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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §           CRIMINAL NO. H-10-012-4
                                                  §
JUAN CARLOS VALENCIA                              §

                           ORDER OF DETENTION PENDING TRIAL

         In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. Defendant waived his right to a detention hearing. That waiver is entered in
the record as Dkt. No. 92. I conclude that the following facts are established by a preponderance of
the evidence or clear and convincing evidence and require the detention of the defendant pending trial
in this case.

                                          Findings of Fact

[]     A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

       [ ] (1) The defendant has been convicted of a (federal offense) (state or local offense that
               would have been a federal offense if a circumstance giving rise to federal jurisdiction
               had existed) that is

               []   a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

               [ ] an offense for which the maximum sentence is life imprisonment or death.

               []   an offense for which a maximum term of imprisonment of ten years or more is
                    prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

               []   a felony that was committed after the defendant had been convicted of two or
                    more prior federal offenses described in 18 U.S.C. § 3142(f)(1) (A)-(C), or
                    comparable state or local offenses.

       [ ] (2) The offense described in finding 1 was committed while the defendant was on release
               pending trial for a federal, state or local offense.

       [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
               of the defendant from imprisonment) for the offense described in finding 1.

       [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
               combination of conditions will reasonably assure the safety of any other person and the
               community. I further find that the defendant has not rebutted this presumption.
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[]     B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [ ] (1) There is probable cause to believe that the defendant has committed an offense

                     []      for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     []      under 18 U.S.C. § 924(c).

       [ ] (2) The defendant has not rebutted the presumption established by finding 1 that no
               condition or combination of conditions will reasonably assure the appearance of the
               defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1) Defendant is a non-U.S. citizen accused of robbery in violation of the Hobbs Act, 18
               U.S.C. § 1951.

       [X] (2) There is a serious risk that the defendant will flee.

       [X] (3) Defendant is a danger to the community

       [ ] (4)       There is a serious risk that the defendant will (obstruct or attempt to obstruct
                     justice) (threaten, injure, or intimidate a prospective witness or juror, or attempt
                     to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1)       As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3)       I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                     § 3142(c) which will reasonably assure the appearance of the defendant as
                     required.

       [X] (4)       I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                     § 3142(c) which will reasonably assure the safety of any other person or the
                     community.

                             Written Statement of Reasons for Detention

       I find that the accusations in the indictment and the pretrial services report establish by a
preponderance of the evidence that no condition or combination of conditions will reasonably assure

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the appearance of the defendant as required and by clear and convincing evidence that no condition
or combination of conditions will assure the safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant reports that he was born on June 20, 1983 in Colombia and entered the
                United States in April 2001 on a tourist visa. The file contains no indication as to the
                status of a Bureau of Immigration and Customs Enforcement detainer. His parents and
                5 siblings reside in Colombia. He has a one year old daughter who lives in Houston
                with her mother. He admitted recent marijuana use.

        2.      Defendant is presently accused by indictment of two counts of robbery in violation of
                the Hobbs Act, 18 U.S.C. § 1951. Defendant faces a penalty of up to twenty years
                confinement on each charge.

        3.      Defendant has a criminal history that includes convictions for driving with a suspended
                license, failure to display a driver's license, possession of drug paraphernalia, and
                forgery to defraud or harm another. He has been known to use the alias Isaac Camhi.

        4.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant in court or the safety of the community. Detention is
                ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on April 19, 2010.




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